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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Cause No. 1:13-CR-89-HAB
                                              )
CHARLES SEALS                                 )

                                    OPINION AND ORDER

       This matter comes before the Court on Defendant Charles Seals’ letter to the Court (ECF

No. 182), which this Court construed liberally as a Motion for Compassionate Release pursuant to

3582(c)(1). (ECF No. 184). The Government responded on September 14, 2021, asserting that the

Defendant failed to exhaust his administrative remedies. (ECF No. 187). Seals did not file a reply.

Because the Government is correct that Seals failed to exhaust his administrative remedies,

Defendant’s motion will be DENIED.

       For most of the life of the COVID-related compassionate release phenomenon, there was

considerable confusion as to whether exhaustion of remedies was jurisdictional, a claims-

processing rule, or wholly unnecessary. That confusion was resolved, at least in this circuit, by the

Seventh Circuit’s decision in United States v. Sanford, 986 F.3d 779 (7th Cir. 2021). There, the

Court answered affirmatively the question of “whether the exhaustion requirement is a mandatory

claim-processing rule and therefore must be enforced when properly invoked.” Id. at 782 (original

emphasis). Where, as here, the Government raises exhaustion as a defense (see ECF No. 115 at 6–

9), a defendant must demonstrate that he has presented his request for release to the warden at his

facility, and either: (1) he has exhausted administrative appeals (if the request was denied); or (2)

he has waited “30 days from the receipt of such a request by the warden of the defendant’s facility”

to seek relief from the Court. 18 U.S.C. § 3582(c)(1)(A). Exhaustion is required each time a
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defendant seeks compassionate release. United States v. Cain, 2021 WL 388436 at *4 (D. Maine

Feb. 3, 2021) (collecting cases).

       Here, Seals’ initial letter to the Court did not assert that he had exhausted his administrative

remedies and, since he failed to reply to the Government’s response raising the issue, Seals has

failed to demonstrate that he has done so. Accordingly, the Court cannot conclude from

Defendant’s filings that he has met the threshold exhaustion requirement.

       Unless and until Defendant exhausts his remedies and demonstrates that exhaustion, the

Court cannot consider the merits of his compassionate release request. Therefore, his Motion for

Compassionate Release (ECF No. 182) is DENIED.

       SO ORDERED on October 20, 2021.

                                               s/ Holly A. Brady
                                              JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT




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